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                        Nos. 2023-2298, 2023-2354

United States Court of Appeals for the Federal Circuit


                        VLSI TECHNOLOGY LLC,
                               Appellant

                                     v.

                PATENT QUALITY ASSURANCE LLC,
                         Cross-Appellant,

                        INTEL CORPORATION,
                               Appellee,

                                    and

   UNDER SECRETARY OF COMMERCE FOR INTELLECTUAL
PROPERTY AND DIRECTOR OF THE UNITED STATES PATENT AND
                 TRADEMARK OFFICE,
                      Intervenor.


Appeals from the United States Patent and Trademark Office, Patent Trial and
         Appeal Board in Nos. IPR2021-01229 and IPR2022-00479.


 PATENT QUALITY ASSURANCE LLC’S OPPOSITION TO VLSI’S
           MAY 24 MOTION FOR EXTENSION


                                          Brian C. Banner
                                                Principal Attorney
                                          Truman H. Fenton
                                          Bruce W. Slayden II
                                          Clark Oberembt
                                          SLAYDEN GRUBERT BEARD PLLC
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                               401 Congress Avenue, Suite 1650
                               Austin, TX 78701
                               (512) 402-3552
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                         CERTIFICATE OF INTEREST

      Pursuant to Federal Circuit Rule 47.6, counsel for Petitioner Patent Quality
Assurance LLC (“PQA”) certifies the following:

I.     The full name of the party represented by me:

             Patent Quality Assurance LLC

II.    The name of the real party in interest represented by me is:

             Not applicable

III.   Parent corporations and publicly held companies that own 10% or more of
       stock in the party:

             None

IV.    The names of all law firms and the partners or associates that appeared for
       the party or amicus now represented by me in the trial court or agency or are
       expected to appear in this court (and who have not or will not enter an
       appearance in this case) are:

             Slayden Grubert Beard, PLLC: Tecuan Flores

V.     The title and number of any case known to counsel to be pending in this or
       any other court or agency that will directly affect or be directly affected by
       this court’s decision in the pending appeals.

       Patent Quality Assurance LLC v. VLSI Technologies LLC, Case No.
       IPR2021-01229 (Patent Trial & Appeal Board)

Dated: May 31, 2024                     /s/ Truman H. Fenton

                                        Counsel for Petitioner
                                        Patent Quality Assurance LLC




                                           i
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      Cross-Appellant PQA opposes a 45-day extension in view of previous

extensions already granted but does not oppose a 14-day extension.

Dated: May 31, 2024                   Respectfully submitted,


                                      /s/ Truman H. Fenton

                                      Brian C. Banner
                                            Principal Attorney
                                      Truman H. Fenton
                                      Bruce W. Slayden II
                                      Clark Oberembt
                                      SLAYDEN, GRUBERT, BEARD PLLC
                                      401 Congress Avenue, Suite 1650
                                      Austin, TX 78701
                                      (512) 502-3552
                                      Counsel for Petitioner
          Case: 23-2298    Document: 53    Page: 5    Filed: 05/31/2024




                        CERTIFICATE OF SERVICE

      I hereby certify that on May 31, 2024, an electronic copy of the foregoing

Response was filed with the Clerk of Court for the U.S. Court of Appeals for the

Federal Circuit, using the appellate CM/ECF system.




Dated: May 31, 2024                  Respectfully submitted,


                                     /s/ Truman H. Fenton

                                     Counsel for Cross-Appellant




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                      CERTIFICATE OF COMPLIANCE

     This brief has been prepared in a proportionally spaced typeface

using Microsoft Word in 14-point Times New Roman.




Dated: May 31, 2024               Respectfully submitted,


                                  /s/ Truman H. Fenton

                                  Counsel for Cross-Appellant




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